Case 1:12-cv-20607-MGC Document 267 Entered on FLSD Docket 12/10/2014 Page 1 of 5



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO: 1:12-CV-20607-ROSENBAUM/SELTZER

   THE DEMOCRATIC REPUBLIC OF THE
   CONGO,
                         Plaintiff,
   vs.
   AIR CAPITAL GROUP, LLC, MARIO ABAD,
   individually, and JAIME SANCHEZ,
   individually, and COMMERCIAL JET, INC.
                         Defendants.
   ________________________________________/

     NOTICE OF SERVING POST-JUDGMENT FACT INFORMATION SHEET TO AIR
                           CAPITAL GROUP, LLC

          Plaintiff/Judgment Creditor, The Democratic Republic of the Congo, by and through its

   undersigned counsel and pursuant to Fed. R. Civ. P. 69 (a)(2), hereby gives notice of serving the

   attached Fact Information Sheet directed to Defendant/Judgment Debtor, Air Capital Group,

   LLC. The fully executed Fact Information Sheet shall be sent to the undersigned at the office of

   Cozen O’Connor, Southeast Financial Center, 200 South Biscayne Boulevard, Suite 4410,

   Miami, FL 33131 within thirty (30) days of the date of this notice.

                                                        Respectfully submitted,

                                                     By:       /s/ Richard M. Dunn
                                                           Richard M. Dunn
                                                           Fla. Bar. No.: 126953
                                                           rdunn@cozen.com
                                                           Raquel Fernandez
                                                           Florida Bar No. 55069
                                                           rfernandez@cozen.com
                                                           COZEN O’CONNOR
                                                           Southeast Financial Center, Suite 4410
                                                           200 South Biscayne Boulevard
                                                           Miami, Florida 33131-4332
                                                           Telephone: (305) 704-5940
                                                           Facsimile: (305) 704-5955
                                                           Attorneys for The Democratic Republic of
                                                           The Congo
Case 1:12-cv-20607-MGC Document 267 Entered on FLSD Docket 12/10/2014 Page 2 of 5




                                 CERTIFICATE OF SERVICE

           I hereby certify that on the 10th day of December, 2014, I electronically filed the

   foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing

   document is being served this day on all counsel of record via transmission of Notices of

   Electronic Filing generated by CM/ECF.


                                             By:    /s/ Richard M. Dunn



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                                                2
Case 1:12-cv-20607-MGC Document 267 Entered on FLSD Docket 12/10/2014 Page 3 of 5




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                        CASE NO: 1:12-CV-20607-ROSENBAUM/SELTZER

   THE DEMOCRATIC REPUBLIC OF THE
   CONGO,
                  Plaintiff,
   vs.

   AIR CAPITAL GROUP, LLC, MARIO ABAD,
   individually, and JAIME SANCHEZ,
   individually, and COMMERCIAL JET, INC.
                         Defendants.
   ________________________________________/

               FACT INFORMATION SHEET (FLA. R. CIV. P. FORM 1.977)
          DIRECTED TO INDIVIDUAL DEFENDANT, AIR CAPITAL GROUP, LLC

          Fed. R. Civ. P. 69 (a)(2), stated that “in aid of the judgment or execution, the judgment

   creditor or a successor in interest whose interest appears of record may obtain discovery from

   any person – including the judgment debtor – as provided in these rules or by the procedure of

   the state where the court is located.” Further, the Florida Supreme Court has approved this form

   (1.977) as discovery in aid of execution.

   YOU MUST MAIL OR DELIVER THIS COMPLETED FORM, WITH ALL
   ATTACHMENTS TO THE JUDGMENT CREDITOR’S ATTORNEY, BUT DO NOT
   FILE THIS FORM WITH THE CLERK OF THE COURT.

   Name of Entity:        Air Capital Group
   Name and title of person filling out this form:
   Telephone number:
   Place of business:
   Mailing address (If different):
   Gross/taxable income reported for federal income tax purposes last three years:


   Taxpayer identification number:
   Is this entity an S corporation for federal income tax purposes? Yes?:            No?:
   Average number of employees per month: $
Case 1:12-cv-20607-MGC Document 267 Entered on FLSD Docket 12/10/2014 Page 4 of 5



   Name of each shareholder, member, or partner owning 5% or more of the entity’s common
   stock, preferred stock, or other equity interest:




   Names of officers, directors, members, or partners:


   Checking account at:                     Account #
   Savings account at:                      Account #
   Does the entity own any vehicles: Yes?:                  No?:
   For each vehicle please state:
   Year/Make/Model:                                                          Color:
   Vehicle ID No.:                                                 Tag No.:
   Mileage:                                                 Present Value:
   Names on Title:
   Loan Owed to::
   Balance on loan: $                               Monthly payment $:
   Does the entity own any real property?:                  Yes              No
   If yes, please state the address(es):


   Please check if the entity owns the following:
           Boat
           Camper
           Stocks/bonds
           Other real property
           Other personal property
   Please attach copies of the following:
   1.      Copies of state and federal income tax returns for the past 3 years.
   2.      All bank, savings and loan, and other account books and statements for accounts in
   institutions in which the entity had any legal or equitable interest for the past three (3) years.
   3.      All canceled checks for the 12 months immediately preceding the service date of this Fact
   Information Sheet for accounts in which the entity held any legal or equitable interest.



                                                        2
Case 1:12-cv-20607-MGC Document 267 Entered on FLSD Docket 12/10/2014 Page 5 of 5



   4.      All deeds, leases, mortgages, or other written instruments evidencing any interest in or
   ownership of real property or other corporations or partnerships at any time within the 12 months
   immediately preceding the date this lawsuit was filed (February 2012).
   5.      Bills of sale or other written evidence of the gift, sale, purchase, or other transfer of any
   personal or real property to or from the entity within the 12 months immediately preceding the
   date this lawsuit was filed.
   6.      Motor vehicle or vessel documents, including titles and registrations relating to any
   motor vehicles or vessels owned by the entity alone or with others.
   7.      Financial statements as to the entity’s assets, liabilities, and owner’s equity prepared
   within the 12 months immediately preceding the service date of this Fact Information Sheet.
   8.      Minutes of all meetings of the entity’s members, partners, shareholders, or board of
   directors held within 2 years of the service date of this Fact Information Sheet.
   9.      Resolutions of the entity’s members, partners, shareholders, or board of directors passed
   within 2 years of the service date of this fact Information Sheet.
   UNDER PENALTY OF PERJURY, I SWEAR OR AFFIRM THAT THE FOREGOING
   ANSWERS ARE TRUE AND COMPLETE.

                                                 ________________________________________
                                                 Judgment Debtor’s Designated Representative/Title

   STATE OF FLORIDA               )
                                  )
   COUNTY OF                      )

           The foregoing instrument was acknowledged before me this               day of              ,

   2014, by ______________________ who is personally known to me or has produced

   _______________ as identification and who _____did ______ did not take an oath.

           WITNESS my hand and official seal, this                       day of                 , 2014.


                                                 _______________________________
                                                 Notary Public
                                                 State of Florida

                                                 My Commission expires:
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